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Attachment B
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Hon. Charles A. Legge (Ret.)

JAMS

Two Embarcadero Center, Suite 1500
San Francisco, CA 94111

Telephone: (415) 774-2644

Fax: (415) 982-5287

Special Master

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

CRAGG, INC., et al.,
Plaintiffs,
¥S.

CHUNGHWA PICTURE TUBES, LTD.,
et al.,

Defendants,

This Document Relates to ALL CASES

[March 15, 2013
October 23, 2013

No. 07-5944 SC
MDL No. 1917
JAMS Reference No. 1100054618

[PROPOSED] REVISED
SCHEDULING ORDER

Last day for Mediation — Direct Class]

Last day for Directs, Indirects, State Attorneys

General, and Direct Actions Plaintiffs to serve

expert reports on merits

November 22, 2013

merits

January 31, 2014

Last day for Defendants to serve expert reports on

Last day for Directs, Indirects, State Attorneys General,

and Direct Action Plaintiffs to serve rebuttal expert

reports on merits

[PROPOSED] REVISED SCHEDULING ORDER
Case No. 07-5944 SC
MDL. No. 1917

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March 3, 2014
April 15, 2014
June 2, 2014
July 2, 2014
July 18, 2014
July 31, 2014
August 15, 2014

August 15, 2014
August 15, 2014

August 22, 2014
August 29, 2014

August 29, 2014

August 29, 2014
September 12, 2014
September 26, 2014
October 6, 2014
October 20, 2014*

* The dates above apply to the action of the California Attorney General only insofar as
the close of fact discovery on Defendants, the date of the expert report due from Plaintiffs,

and mediation is concerned.

Close of fact and expert discovery

Last day to file dispositive motions

Last day to file oppositions to dispositive motions
Last day for dispositive motions replies

Hearing on dispositive motions

Mediation

Last day for actions filed outside of ND Cal. to be
returned to courts in which originally filed

Last day for settlement conference

Last day for filing motions in limine and other non-
dispositive pretrial motions

Last day to meet and confer re pretrial order
Parties must exchange proposed exhibits and witness
lists

Last day for filing pretrial order, agreed set of fury
instructions and verdict forms

Last day for filing oppositions to motions in limine
Last day for filing motions in limine reply briefs
Hearing on motions in limine

Final pretrial conference

Trial(s)

[PROPOSED] REVISED SCHEDULING ORDER

Case No. 07-5944 SC
MDL No, 1917
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IT IS SO ORDERED.

DATED:

Hon. Samuel Conti
United States District Judge

[PROPOSED] REVISED SCHEDULING ORDER
Case No. 07-5944 $C
MDL No. 1917

